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IN THE UNITED STATES DISTRICT COURT |
FOR THE EASTERN DISTRICT OF CALIFORNIA

ROGER McINTOSH, CASE NO. CV F 07-1080 LIO GSA
Plaintiff, VERDICT

VS.

NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES,
INC., LOTUS DEVELOPMENTS,
LP, THE CITY OF WASCO,
AND DENNIS W. DeWALT,
INC,,

Defendants.

We, the jury, unanimously find the following, by a preponderance of the evidence:

COPYRIGHT INFRINGEMENT
Question No. 1:
Did defendant Dennis W. DeWalt, Inc. copy plaintiff Roger McIntosh’s Tentative Map for Tract
5472?

YES. 4

NO

Proceed to Question No. 2.

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Question No. 2:

Did defendant Dennis W. DeWalt, Inc. copy plaintiff Roger McIntosh’s Improvement Plans for
Tract 5472?
YES

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Proceed to Question No. 3.

Question No. 3:
Did defendant Northern California Universal Enterprises, Inc. copy plaintiff Roger McIntosh’s
Tentative Map for Tract 5472?

YES Ww

NO

Proceed to Question No. 4.
Question No. 4:
Did defendant Northern California Universal Enterprises, Inc. copy plaintiff Roger McIntosh’s
Improvement Plans for Tract 5472?
YES s

no WwW

Proceed to Question No. 5.

Question No. 5:
Did defendant Lotus Developments, LP copy plaintiff Roger McIntosh’s Tentative Map for Tract
5472?

YES Sc

NO

Proceed to Question No. 6.
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Question No. 6:

Did defendant Lotus Developments, LP copy plaintiff Roger McIntosh’s Improvement Plans for

Tract 5472?
YES
NO WA

Proceed to Question No. 7.
Question No. 7:
Did defendant City of Wasco copy plaintiff Roger McIntosh’s Tentative Map for Tract 5472?

YES wv
NO

Proceed to Question No. 8.
Question No. 8:

Did defendant City of Wasco copy plaintiff Roger McIntosh’s Improvement Plans for Tract

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YES Av

NO

If you answered “yes” to any of Question Nos. 1-8, proceed to Question No. 9.
If you answered “no” to all of Question Nos. 1-8, stop here, answer no further questions, and have your
presiding juror date and sign this form.
CONTRIBUTORY COPYRIGHT INFRINGEMENT
BY DEFENDANT CITY OF WASCO

Question No. 9:

Did defendant City of Wasco know or have reason to know of the infringing activity by the other
defendants, if any?

YES WwW.

NO

If you answered “yes” to Question No. 9, proceed to Question No. 10.

If you answered “no” to Question No. 9, proceed to Question No. 11.

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Question No. 10:
Did defendant City of Wasco intentionally and materially contribute to any infringement by any

of the other defendants?

YES V
NO

Proceed to Question No. 11.
VICARIOUS COPYRIGHT INFRINGEMENT
Question No. 11:

Did defendant City of Wasco profit directly from any copying of plaintiff Roger McIntosh’s work

(either the Tentative Map for Tract 5472 or Improvement Plans for Tract 5472) done by any of the other

defendants?
YES Y
NO

If you answered “yes” to Question No. 11, proceed to Question No. 12.
If you answered “no” to Question No. 11, proceed to Question No. 14.
Question No. 12:
Did defendant City of Wasco have the right and ability to supervise or control the other
defendants’ copying of plaintiff Roger McIntosh’s work?

YES Y

NO

If you answered “yes” to Question No. 12, proceed to Question No. 13.
If you answered “no” to Question No. 12, proceed to Question No. 14.
Question No. 13:
Did defendant City of Waco fail to exercise that right and ability to supervise or control the other
defendants’ copying of plaintiff Roger McIntosh’s work?
YES

NO

Proceed to Question No. 14.

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Question No. 14:

Did defendant Dennis W. DeWalt, Inc. profit directly from any copying of plaintiff Roger
Mclntosh’s work done by any of the other defendants?
YES

NO v

lf you answered “yes” to Question No. 14, proceed to Question No. 15.

If you answered “no” to Question No. 14, proceed to Question No. 17.
Question No. 15:
Did defendant Dennis W. DeWalt, Inc. have the right and ability to supervise or control the other
defendants’ copying of plaintiff Roger McIntosh’s work?
YES

NO

If you answered “‘yes” to Question No. 15, proceed to Question No. 16.
If you answered “no” to Question No. 15, proceed to Question No. 17.
Question No. 16:
Did defendant Dennis W. DeWalt, Inc. fail to exercise that right and ability to supervise or
control the other defendants’ copying of plaintiffs work?

YES

NO

Proceed to Question No. 17.
Question No. 17:

Did defendant Northern California Universal Enterprises, Inc. profit directly from any copying
of plaintiff Roger McIntosh’s work done by any of the other defendants?

YES v

NO

If you answered “yes” to Question No. 17, proceed to Question No. 18.
If you answered “no” to Question No. 17, proceed to Question No. 20.

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Question No. 18:
Did defendant Northern California Universal Enterprises, Inc. have the right and ability to
supervise or control the other defendants’ copying of plaintiff Roger MelIntosh’s work?

YES vv
NO

If you answered “yes” to Question No. 18, proceed to Question No. 19.
If you answered “no” to Question No. 18, proceed to Question No. 20.
Question No. 19:
Did defendant Northern California Universal Enterprises, Inc. fail to exercise that right and
ability to supervise or control the other defendants’ copying of plaintiff Roger MclIntosh’s work?

YES vw

NO

Proceed to Question No. 20.
Question No. 20:

Did defendant Lotus Developments, LP profit directly from any copying of plaintiff Roger
MeclIntosh’s work done by any of the other defendants?

YES vw

NO

If you answered “yes” to Question No. 20, proceed to Question No. 21.
If you answered “no” to Question No. 20, proceed to Question No. 23.
Question No. 21:
Did defendant Lotus Developments, LP have the right and ability to supervise or control the other
defendants’ copying of plaintiff Roger McIntosh’s work?

YES 4

NO ‘

If you answered “yes” to Question No. 21, proceed to Question No, 22.
If you answered “no” to Question No, 21, proceed to Question No. 23.

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Question No. 22:
Did defendant Lotus Development, LP fail to exercise that right and ability to supervise or

control the other defendants’ copying of plaintiff Roger Mclntosh’s work?

YES ~~

NO

Proceed to Question No. 23.
DAMAGES
Question No. 23:
What is the total amount of actual damages plaintiff Roger McIntosh is entitled to? (This is the
amount of money you will be awarding plaintiff Roger Mclntosh.)
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Proceed to Question No. 24.

Question No. 24:
Did defendant Dennis W. DeWalt, Inc. obtain a profit from its infringing activity?
YES

no__

If you answered “yes” to Question No. 24, proceed to Question No. 25.

If you answered “no” to Question No, 24, proceed to Question No. 26.
Question No. 25:
What was /the amount of defendant Dennis W. DeWalt, Inc.’s profit?

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Proceed to Question No. 26.
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Question No. 26:
Did defendant Northern California Universal Enterprises, Inc. obtain a profit from its infringing
activity?
YES —
NO

If you answered “yes” to Question No. 26, proceed to Question No. 27.
If you answered “no” to Question No. 26, proceed to Question No. 28.
Question No. 27:
What was the amount of defendant Northern California Universal Enterprises, Inc.’s profit?
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Proceed to Question No, 28.

Question No. 28:

Did defendant Lotus Developments, LP obtain a profit from its infringing activity?

YES Vv”

NO

If you answered “yes” to Question No. 28, proceed to Question No. 29.
If you answered “‘no” to Question No. 28, proceed to Question No. 29.
Question No. 29:
What was the amount of defendant Lotus Developments, LP’s profit?

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Proceed to Question No. 30.

Question No. 30:

Did defendant City of Wasco obtain a profit from its infringing activity?

Yes YY

No

If you answered “yes” to Question No. 30, proceed to Question No. 31.
If you answered “no” to Question No. 30, proceed to Question No. 32.

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Question No. 31:

What was the amount of defendant City of Wasco’s profit?
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Question No. 32:

If you entered an amount more than $0 in response to Question No. 27, answer Question No. 32.
If you did not enter an amount in response to Question No. 27, proceed to Question No. 33.
In committing infringing activity, did defendant Northern California Universal Enterprises, Inc.
act as a partner or practically partner with defendant Lotus Developments, LP?
Yes wv
No
Proceed to Question No. 33.
Question No. 33:
If you entered an amount more than $0 in response to Question No. 29, answer Question No. 33.
If you did not enter an amount in response to Question No. 29, stop here, answer no further questions,
and have your presiding juror date and sign this form.
In committing infringing activity, did defendant Lotus Developments, LP act as a partner or
practically partner with defendant Northern California Universal Enterprises, Inc.?
Yes ~%
No

Please have the presiding juror date and sign this form.

DATED: March !0_, 2010 Ohneop rea. 2>_
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PRESIDING JUROR

After this form has been dated and signed, please use a “Note From The Jury” to inform the

Court that you have reached a unanimous verdict.

